                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              VICTORIA DIVISION


STATE OF TEXAS,


              Plaintiff,

v.                                               Civ. Action No. 6:21-cv-00003

The UNITED STATES OF AMERICA;
DAVID PEKOSKE, Acting Secretary of the
United States Department of Homeland
Security, in his official capacity; UNITED
STATES DEPARTMENT OF HOMELAND
SECURITY; TROY MILLER, Senior Official
Performing the Duties of the Commissioner
of U.S. Customs and Border Protection, in his
official capacity; U.S. CUSTOMS AND
BORDER PROTECTION; TAE JOHNSON,
Acting Director of U.S. Immigration and
Customs Enforcement, in his official
capacity; U.S. IMMIGRATION AND
CUSTOMS ENFORCEMENT; TRACY
RENAUD, Senior Official Performing the
Duties of the Director of the U.S. Citizenship
and Immigration Services, in her official
capacity; U.S. CITIZENSHIP AND
IMMIGRATION SERVICES,

              Defendants.



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  Homeland Security, Jan. 20. 2021 .............................................................................................1

Memorandum of Understanding between Texas and the U.S. Department of
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                                          INTRODUCTION

       With the stroke of a pen, the Biden Administration granted at least temporary amnesty to

tens of millions of illegal aliens. Ex. 1 (Memorandum from David Pekoske, Acting Director, U.S.

Department of Homeland Security; hereinafter, the “January 20 Memorandum” or the

“Memorandum”). In doing so, Defendants violated an express statutory command and their

constitutional obligation to faithfully execute our Nation’s laws. The rest of the country is due, at

the very minimum, consideration of less-extreme policies as well as notice and the opportunity to

comment before such a sweeping change can occur. Indeed, Defendants expressly agreed to give

Texas (and other States) the right to provide input on something that so directly affects its citizens

and time to adjust for such a change. See Ex. 2 (Memorandum of Understanding between Texas

and the U.S. Department of Homeland Security, Dec. 30, 2020; hereinafter the “Agreement”).

       The Biden Administration met none of these requirements. Having provided nothing in an

administrative record suggesting any consideration of the January 20 Memorandum whatsoever—

let alone consideration of alternative possible policies—Defendants’ actions are arbitrary and

capricious as a matter of law. In an attempt to evade this self-evident result, Defendants now tell

this Court that it lacks the power to even review those actions. But the law does not insulate

Defendants’ total abdication of their responsibility to enforce clear directives by Congress from

this Court’s review. Quite the opposite: this Court retains the historical power to review illegal

executive actions by the federal government, including this one. Armstrong v. Exceptional Child

Center, Inc., 575 U.S. 320, 327–28 (2015). This Court should set aside the January 20

Memorandum and enjoin Defendants from implementing it in any way.




                                                  1
                                       STATEMENT OF FACTS

       Defendants removed nearly 1,000,000 illegal aliens from the United States during the last

three years for which total statistics are available. Ex. 3 (2019 Yearbook of Immigration Statistics,

Table 39). In FY2019, just one of Defendants—U.S. Immigration and Customs Enforcement

(“ICE”)—removed another 267,258 unlawfully present aliens. Ex. 4 at 19 fig. 13 (ICE FY2019

ERO Report). More than 150,000 of those individuals had prior criminal convictions, and another

23,000 had pending criminal charges. Id. at 22 fig. 16. That includes more than 67,000 convicted

criminals from the four ICE areas of operation in Texas, Ex. 5 at 5 (ERO FY2019 Local Statistics),

and over 5,000 known or suspected gang members, Ex. 4 at 23 fig. 18. Over 91% of the removals

of individuals arrested by ICE away from the border were of convicted criminals or had pending

criminal charges (nearly 80,000 individuals in one year alone). Id. at 22 fig. 17.




Under the terms of the January 20 Memorandum, none of those tens of thousands of criminals

would have been removed, except for the 58 known or suspected terrorists. Id. at 23 fig. 19; see

also Ex. 6 ¶ 30 (Decl. of T. Homan).




                                                 2
        In just the first four months of FY2021, ICE removed nearly 24,000 aliens, more than

double the number that it released pursuant to some type of alternative to removal. Ex. 7, table

“ICE Removals: FY2021 YTD” (FY2021 ICE Detention Statistics). 1 Based on these numbers, the

100-day pause called for in the January 20 Memorandum would result in tens of thousands of

additional aliens remaining in the United States, many of whom would remain or move to Texas.

See also Ex. 8 (ICE.gov Homepage) (showing 509 removals on average per day in FY2020).

        Of those still in the United States, an average of approximately 15,000 illegal aliens were

in ICE’s custody each day of January 2021. Ex. 7, table “ICE Facilities Data, FY21 YTD.” Over

8,000 of those who were in custody had prior convictions for criminal offenses and another 2,700

had criminal charges pending. Id. ICE housed over half of those unlawfully present aliens in its 26

facilities located in Texas, over 1,600 of whom had some level of prior criminality. Id.

        During the 90-day period after entry of a final order of deportation, the Department of

Homeland Security (“DHS”) “shall detain the alien” unless the alien is removed. See 8 U.S.C.

§ 1231(a)(2). But that mandate loses its force after the removal period ends, to address the question

the Court posed to the parties in ECF 51. See also RAICES Em. Mot. to Intervene at 5, ECF 28

(“After that period, [Section 1231] generally contemplates release of persons with final removal

orders.”). Under Section 1231(a)(3) and (a)(6), DHS must release an alien after the removal period

ends unless the alien is “determined by the Attorney General to be a risk to the community or

unlikely to comply with the order of removal.” And even in light of such a determination, the

statute leaves detention to Defendants’ discretion. Id. (such an alien “may be detained beyond the

removal period”). As such, the 100-day pause would run the clock out on any illegal alien’s 90-




1
 A native Excel version of this exhibit can be found here: https://www.ice.gov/doclib/detention/FY21-
detentionstats.xlsx


                                                   3
day removal period, meaning that ICE would, generally speaking, be forced to release illegal aliens

both during and following the 100-day pause.

       But even if such an alien is detained, the detention cannot go on indefinitely. An alien must

be released if there is not a “significant likelihood of removal in the foreseeable future,” commonly

referred to as “SLRFF.” See Zadvydas v. Davis, 533 U.S. 678, at 699–700 (2001). The 100-day

deportation pause would not only illegally delay removals for the vast majority of illegal aliens, it

would make removals for many more difficult or impossible—including for the thousands of

convicted criminals currently in ICE’s custody. The ICE officer in charge of the Houston Field

Office understood the significance of that pause: “Per the [Deputy Field Office Director], all cases

are to be considered NO SLRFF.” ECF 14.1. While the Field Office Director ordered that directive

rescinded, he or she did not provide any other meaningful guidance—and did not say that the

Deputy was incorrect. Thus, should the blanket pause on removals in the January 20 Memorandum

take effect, ICE could lose control of criminals who are in this country illegally and who have

already been located, apprehended, and convicted. See Ex. 6 ¶ 32–34. These convicted criminals

are particularly unlikely to comply with future removal orders and further present a heightened

risk to Texas and Texans.

       Additionally, the ICE-specific custody statistics do not account for illegal aliens who are

in the custody of state and local law enforcement. According to Defendants’ own estimate, 90

percent of incarcerated aliens are subject to state or local detentions. Ex. 9 at 2 (DHS Alien

Incarceration Report, Fiscal Year 2017). In one fiscal year alone, the Texas Department of

Criminal Justice housed nearly 9,000 illegal alien criminals. Ex. 10 ¶ 6 (Decl. of R. Waltz). Should

ICE no longer be able to remove those unlawfully present criminals, they would be released into




                                                 4
Texas’s communities, where they are likely to commit additional crimes. Ex. 11 (Decl. of B.

Waybourn).

       Without considering costs like these, the Biden Administration issued the January 20

Memorandum on its very first day in office. Federal law requires that Defendants’ action be set

aside and further enjoined pending the Court’s final consideration.

                                  SUMMARY OF THE ARGUMENT

               No procedural hurdle prevented this Court from ruling on Texas’s application for a

temporary restraining order, and none forecloses its consideration of the merits of this case. The

100-day pause on almost all removals is “so extreme as to amount to an abdication of [Defendants’]

statutory responsibilities,” Heckler v. Chaney, 470 U.S. 821, 833 n.4 (1985), so it cannot be

committed to agency discretion by law. The 100-day pause is “sufficiently final and immediate”

to constitute final agency action, and Defendants “have disregarded their previous legal

‘obligations’ and adjudication of the aliens’ ‘rights’” in violation of Section 1231’s mandate. ECF

16 at 8–9. Additionally, Texas has already “provided evidence that the 100-day pause will result

in millions of dollars of damage to its public fisc,” id. at 12, and that evidence is expanded upon

in this motion and the attached exhibits.

       On the merits, Texas agrees with this Court’s preliminary analysis that the 100-day pause

“is clearly not in accordance with, or is in excess of, the authority accorded to” Defendants under

8 U.S.C. § 1231(a)(1)(A). ECF 16 at 6. Likewise, the “January 20 Memorandum not only fails to

consider potential policies more limited in scope and time, but it also fails to provide any concrete,

reasonable justification for a 100-day pause on deportations.” Id. at 10. The non-existent

administrative record confirms the Court’s suspicions: Defendants plainly failed to consider any

alternative policy to the one they announced, including one which would not violate section




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1231(a)(1)(A). Indeed, Defendants failed to consider their obligations under the INA in the first

place. Additionally, such a change that imposes “rights and obligations” is required to first go

through notice-and-comment rulemaking. Prof’ls & Patients for Customized Care v. Shalala, 56

F.3d 592, 595 (5th Cir. 1995). Finally, not only did the January 20 Memorandum violate the

Administrative Procedure Act (“APA”), it violated Defendants’ obligations to Texas as well as

their duty to “take Care that the Laws be faithfully executed.” U.S. Const. art. II, § 3.

       In their most recent filing with the Court, Defendants twice say that “Texas’s claims

represent pure legal issues.” ECF 30 at 6; see also id. (“[T]hey present purely legal issues.”). They

do not appear to dispute any of the facts Texas has presented above. And nothing in the

administrative record provides a basis to justify Defendants’ radical departure from their statutory

obligations. As a result, Texas respectfully requests that this Court enjoin the implementation or

enforcement of the January 20 Memorandum and set it aside pursuant to 5 U.S.C. § 706.

                                            ARGUMENT

I.     No procedural issue prevents this Court’s review.

       The Biden Administration cannot hide its complete refusal to enforce this Nation’s

immigration laws behind any procedural bars to this Court’s review.

       A.      The January 20 Memorandum is subject to judicial review.

       Defendants argue that the January 20 Memorandum is not reviewable, see ECF 8 at 7–8

(citing 5 U.S.C. § 701), but this Court properly rejected that argument, see ECF 16 at 7–8.

       First, no “statutes preclude judicial review.” 5 U.S.C. § 701(a)(1). Defendants rely on

Section 1252(g) and Section 1252(f), see ECF 8 at 7, but neither provision applies here. Section

1252(g) prevents courts from hearing aliens’ challenges to final orders of removal, not Texas’s

challenge to the January 20 Memorandum. It provides that “no court shall have jurisdiction to hear

any cause or claim by or on behalf of any alien arising from the decision or action by the Attorney


                                                  6
General to commence proceedings, adjudicate cases, or execute removal orders against any alien

under” the Immigration and Nationality Act. 8 U.S.C. § 1252(g). As this Court has already held,

“Texas is not an alien. Nor does Texas bring this action ‘on behalf of’ any alien.” ECF 16 at 7. As

a result, “§ 1252(g) does not apply to this Court’s review.” Id. (citing Texas, 809 F.3d at 164).

Moreover, Texas’s claim does not “aris[e] from the decision or action by the Attorney General to

commence proceedings, adjudicate cases, or execute removal orders against any alien.” 8 U.S.C.

§ 1252(g). On the contrary, Texas’s claim arises from Defendants’ announcement that they would

not execute removal orders. See Texas, 809 F.3d at 164 (holding that DAPA was reviewable).

       Section 1252(f) is likewise irrelevant. According to Defendants, “§ 1252(f) provides that

only the Supreme Court has authority to enjoin operation of 8 U.S.C. §§ 1221–1232, other than

cases brought by individuals,” ECF 8 at 7, but Texas is not seeking to enjoin operation of those

statutory sections. Far from it; Texas seeks an injunction against a memorandum functionally

suspending Section 1231.

       Second, granting blanket amnesty to millions of illegal aliens is not “committed to agency

discretion by law.” 5 U.S.C. § 701(a)(2). As this Court found, “§ 1231(a)(1)(A) clearly accords no

discretion to the Attorney General to blatantly disregard the 90-day removal rule without finding

that an enumerated exception applies.” ECF 16 at 8.

       The case cited by Defendants for the “classic exercise of prosecutorial discretion,” ECF 8

at 7, shows why the class-wide grant of amnesty is not committed to agency discretion by law. See

Heckler, 470 U.S. 821. That case dealt with individual instances of prosecutorial discretion, which

the Supreme Court ruled were not reviewable. But the Court expressly distinguished “a situation

where it could justifiably be found that the agency has ‘consciously and expressly adopted a

general policy’ that is so extreme as to amount to an abdication of its statutory responsibilities.”




                                                 7
Id. at 833 n.4 (citing Adams v. Richardson, 480 F.2d 1159 (D.C. Cir. 1973) (en banc)). That is

exactly what the January 20 Memorandum did.

       Additionally, Heckler v. Chaney recognized that any presumption of unreviewability for

individualized enforcement decisions “may be rebutted where the substantive statute has provided

guidelines for the agency to follow in exercising its enforcement powers.” Id. at 833. “Congress

did not set agencies free to disregard legislative direction in the statutory scheme that the agency

administers. Congress may limit an agency’s exercise of enforcement power if it wishes, either by

setting substantive priorities, or by otherwise circumscribing an agency’s power to discriminate

among issues or cases it will pursue.” Id. That is exactly what Congress did in Section 1231.

       Defendants also point to the Fifth Circuit’s note that “section 1103 places no substantive

limits on the Attorney General and commits enforcement of the INA to her discretion.” ECF 8 at

7–8 (quoting Texas v. United States, 106 F.3d 661, 667 (5th Cir. 1997)). But in this case, Texas’s

claim is not based on Section 1103. That one provision may not set an enforceable limit on

Defendants’ discretion says nothing about whether another does. See Dep’t of Homeland Sec. v.

Regents of the Univ. of Cal., 140 S. Ct. 1891, 1914 (2020) (Thomas, J., concurring in the judgment

in part and dissenting in part) (noting that Section 1103 “must be read alongside the express limits

contained within the statute”). Moreover, that case turned on the lack of a “workable standard

against which to judge the agency’s exercise of discretion.” Texas, 106 F.3d at 667. Here, there is

a workable standard: A 100-day “pause” in removals will necessarily cause Defendants to violate

Section 1231’s 90-day deadline.

       Defendants’ reviewability argument fails for the reasons explained above. But even if

Defendants were right about reviewability under Section 701, it would not preclude the Court from

considering Counts I and V (based on the Agreement), Count III (based on the Take Care Clause),




                                                 8
or Count IV (based on the lack of notice-and-comment rulemaking). Texas’s claims based on the

Agreement and the Constitution are properly before the Court even without the APA, so Section

701 is not an obstacle. And Texas’s arguments that Defendants were obligated to consider less-

restrictive policies before implementing the Memorandum and that Defendants were “required to

abide by the familiar notice-and-comment rulemaking provisions of the APA” presents a

procedural claim “quite apart from the matter of substantive reviewability.” Lincoln v. Vigil, 508

U.S. 182, 195 (1993) (considering whether the agency should have used notice-and-comment

rulemaking after holding that the substance of the agency’s decision was discretionary and

unreviewable).

       B.        The January 20 Memorandum is a final agency action.

       An agency’s action is “final” for the purposes of judicial review if two conditions are met:

“First, the action must mark the ‘consummation’ of the agency’s decision making process—it must

not be of a merely tentative or interlocutory nature. And second, the action must be one by which

‘rights or obligations have been determined,’ or from which ‘legal consequences will flow.’”

Bennett v. Spear, 520 U.S. 154, 177–78 (1997).

       The January 20 Memorandum “direct[s] an immediate pause on removals of any noncitizen

with a final order of removal.” Ex. 1 at 3. That is not tentative. It would have the immediate effect

of determining rights and obligations: federal officials are obliged not to remove almost all illegal

aliens. RAICES Em. Mot. to Intervene Ex. 2 ¶ 15, ECF 28-2 (“The memo’s temporary relief from

the possibility or being removed thus provides a significant benefit for our clients with final

orders . . . .”). And Texas will be obliged to provide social services to those aliens. See Texas v.

United States, 328 F. Supp. 3d 662, 737 (S.D. Tex. 2018).

       In addition, the January 20 Memorandum causes “legal consequences” like increasing

Defendants’ ability to release illegal aliens from custody. “During the removal period, the Attorney


                                                 9
General shall detain the alien.” 8 U.S.C. § 1231(a)(2). But once Defendants’ 100-day pause

extends an alien’s custody beyond the removal period, the alien can be “subject to supervision”

(i.e., released from custody). Id. § 1231(a)(3); see also ECF 51. And again, the release into, and

continued illegal presence of, illegal aliens in Texas will require the State to provide those aliens

with social services—another legal consequence flowing from the Memorandum.

        C.     Texas has standing to bring these claims.

        States, such as Texas, “bear[] many of the consequences of unlawful immigration.” Arizona

v. United States 567 U.S. 387, 397 (2012). Texas will suffer a concrete injury should the 100-day

pause take effect. Once a concrete injury is shown, the magnitude of that injury is irrelevant to the

standing inquiry. See, e.g., Massachusetts v. EPA, 549 U.S. 497, 525–26 (2007). Texas, as a State,

also receives “special solicitude” in the standing analysis. Id. at 520; see also Texas, 809 F.3d at

151. Although Plaintiff does not need special solicitude to establish standing on any of the grounds

covered above, special solicitude under Massachusetts makes standing an especially easy question

here.

        Texas has already been harmed and faces additional immediate injury by the rushed

implementation of the January 20 Memorandum. The Memorandum has already deprived Texas

of the option of adjusting its policies in light of the federal shift. As DHS itself has acknowledged,

“[t]he harm to Texas is particularly acute where its budget has been set months or years in advance

and it has no time to adjust its budget to respond to DHS policy changes.” Ex. 2 § II.

        Indeed, Texas is required by federal law to incur some of these costs. For example, the

Supreme Court has held that States are constitutionally obligated to provide free education to

unlawfully present aliens. Plyler v. Doe, 457 U.S. 202 (1982). Similarly, Medicaid requires

provision of emergency services, regardless of immigration status, as a condition of participation.

See 42 U.S.C. § 1395dd; 42 C.F.R. § 440.255. Texas expends funds to provide these services to


                                                 10
illegal immigrants each year and must account for those anticipated expendituresin its budget. Ex.

7 (Decl. of L. Lopez) & Ex. 8 (Decl. of L. Kalakanis). Additionally, in one year alone, Texas

housed 8,951 undocumented criminal aliens for a total of 2,439,110 days. Ex. 10 ¶ 6. Texas’s

estimated cost to do so was $152,054,117, of which only $14,657,739 was reimbursed by the

federal government. Id. ¶¶ 6 & 7; see also Ex. 14 (DPS Texas Criminal Illegal Alien Data)

(detailing the tens of thousands of illegal aliens arrested by Texas law enforcement over the past

decade). Those amounts will increase should DHS halt nearly all removals from Texas. As the

Court has already found, “the 100-day pause will result in millions of dollars of damage to its

public fisc by causing it to increase its spending on public services to illegal aliens.” ECF 16 at 5.

II.    The January 20 Memorandum violates the Administrative Procedure Act.

       The January 20 Memorandum violates the Administrative Procedure Act in multiple ways,

any one of which is sufficient to set aside the unlawful agency action.

       A.      The January 20 Memorandum exceeds Defendants’ statutory jurisdiction,
               authority, or limitation.

       Federal immigration law requires that “when an alien is ordered removed, the Attorney

General shall remove the alien from the United States within a period of 90 days.” 8 U.S.C.

§ 1231(a)(1)(A). That obligation has been transferred to the Secretary of Homeland Security. See

Clark v. Martinez, 543 U.S. 371, 375 n.1 (2005). Now, “DHS has a statutory duty to effect removal

within the 90-day period, if possible.” Ulysse v. Dep’t of Homeland Sec., 291 F. Supp. 2d 1318,

1325 (M.D. Fla. 2003).

       The 90-day limit is important to Congress. “Congress intended for inadmissible,

excludable, or removable aliens to be deported within 90 days, if possible.” Id. “This is evidenced

not only by the clear language of the statute, but also by the change in statutory language in 1996.”

Id. In 1996, Congress “reduced the amount of time that the Attorney General has to deport an alien



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from six months to 90 days.” Id. Of course, aliens may thwart DHS’s efforts to remove them, so

Congress “extended the removal period if the alien does not cooperate.” Id.; see 8 U.S.C.

§ 1231(a)(1)(C).

       Congress did not give DHS the option of disregarding the 90-day removal deadline. The

statute uses mandatory language. DHS “shall”—not may—“remove the alien from the United

States within a period of 90 days.” 8 U.S.C. § 1231(a)(1)(A). Courts routinely interpret “shall” as

creating a mandatory duty. See, e.g., Maine Cmty. Health Options v. United States, 140 S. Ct.

1308, 1320 (2020) (“Unlike the word ‘may,’ which implies discretion, the word ‘shall’ usually

connotes a requirement.”); Lexecon Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26,

35 (1998) (“[T]he mandatory ‘shall’ . . . normally creates an obligation impervious to judicial

discretion.”). This Court has done the same. “Here, ‘shall’ means must.” ECF 16 at 6.

       The exceptions cited by Defendants do not apply. First, they point to 8 U.S.C. §

1231(a)(1)(C) as providing “extensions beyond 90 days,” but as Texas explained in its Application

for a Temporary Restraining Order, that provision is about “extend[ing] the removal period if the

alien does not cooperate.” ECF 2 at 10 (quoting Ulysse, 291 F. Supp. 2d at 1325). That case

specifically held that “DHS has a statutory duty to effect removal within the 90-day period, if

possible.” Id. Likewise, Section 1231(a)(3) provides for supervision after the 90-day removal

period, but that is not surprising as Congress expressly recognized that aliens might delay their

own removals. That is no excuse for Defendants to delay those removals themselves. And

Defendants “overstate[] the scope of [8 U.S.C. § 1231(h)’s] limitations.” ECF 16 at 9. That

subsection simply means that Section 1231 does not create a substantive right that would be

enforceable through an implied cause of action. It does not matter here, where the APA allows

suits to challenge agency action that violates a statute. See Zadvydas v. Davis, 533 U.S. 678, 687–




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88 (2001) (holding that Section 1231(h) “does not deprive an alien of the right to rely on [a

different statute] to challenge detention that is without statutory authority”).

       Finally, Defendants suggest that one of the January 20 Memorandum’s exceptions

forecloses any claim that the Memorandum violates the law. The fourth exception applies when

“the Acting Director of ICE, following consultation with the General Counsel, makes an

individualized determination that removal is required by law.” But as their briefing demonstrates,

Defendants do not agree with Texas that Section 1231 requires removals to occur within 90 days.

If they did, then the fourth exception would swallow the rule, and there would have been no reason

to issue the Memorandum in the first place.

       B.      The January 20 Memorandum is arbitrary and capricious.

       The APA prohibits agency actions that are “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). The January 20 Memorandum is

arbitrary and capricious because it “not only fails to consider potential policies more limited in

scope and time, but it also fails to provide any concrete, reasonable justification for a 100-day

pause on deportations.” ECF 16 at 10. Defendants have now filed the administrative record. See

ECF 59. There is nothing in it to change the Court’s analysis. Indeed, there is nothing in the six

pages that constitute the whole of the record at all except for the January 20 Memorandum and a

contemporaneous executive order from President Biden, which does not speak to any of the

Court’s concerns. ECF 59.1.

       Defendants claim the Biden Administration needs time to reevaluate immigration policies

and procedures. But they never say why that evaluation cannot occur while they proceed with

removals as Congress directed. There is no explanation for what resources Defendants are

diverting from the removals, why diverting those resources is sensible, or why diverting resources

from some other aspect of their activities would not be better. Former directors of ICE (who were


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career federal immigration employees) were not consulted about the potential implications with

such a shift in immigration enforcement, as prior administrations had. Ex. 6; Ex. 15 ¶ 22–23 (Decl.

of R. Vitiello). And Defendants cannot plausibly argue that figuring out which removals to

prioritize requires stopping all removals.

        Failing to consider important costs of a new policy renders that policy arbitrary and

capricious. “[A]gency action is lawful only if it rests ‘on a consideration of the relevant factors.’”

Michigan v. EPA, 135 S. Ct. 2699, 2706 (2015). But DHS ignored the harms that pausing removals

will cause. The January 20 Memorandum does not mention those costs at all. Considering such

policy concerns “was the agency’s job, but the agency failed to do it.” Regents of the Univ. of Cal.,

140 S. Ct. at 1914. DHS’s failure is particularly conspicuous because DHS has previously

recognized the importance of removing illegal aliens subject to a final order of removal. See, e.g.,

Ex. 2 § II.

        DHS based its decision to “pause” removal for 100 days on “enhanc[ing] border security,”

“conduct[ing] immigration and asylum processing at the southwest border fairly and efficiently,”

and “comply[ing] with COVID-19 protocols.” Ex. 1 at 3. But those are not new considerations,

and DHS did not claim otherwise. Nor did DHS explain how formally stopping the vast majority

of removals would address these needs. DHS also alluded to its “highest enforcement priorities”

without explaining what those priorities are, how they had changed, or how pausing removals will

help DHS achieve them. Ex. 1 at 3. And this Court has already seen evidence of the confusion that

the Biden Administration caused on its very first day in office. See ECF 14.1.

        The Supreme Court recently held that a DHS immigration action was arbitrary and

capricious because it was issued “‘without any consideration whatsoever’ of a [more limited]

policy.” Regents of the Univ. of Cal., 140 S. Ct. at 1912 (quoting Motor Vehicle Mfrs. Ass’n of




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U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29. 51 (1983)). The January 20 Memorandum

also fails this requirement. It creates a default rule against removal, despite federal immigration

law requiring removal. It does not explain how the several narrow exceptions to this sweeping

change advance the stated interests that precipitated the Memorandum, nor does it explain why

other exceptions—that is, additional enforcement of duly enacted immigration laws—would harm

those interests. The Memorandum is wholly devoid of explanation as to why DHS has deemed

enforcement categorically inappropriate, let alone why highly restricted enforcement is preferable

to more limited restrictions. This, too, is arbitrary.

        Additionally, the Supreme Court has held that “an agency changing its course by rescinding

a rule is obligated to supply a reasoned analysis for the change beyond that which may be required

when an agency does not act in the first instance.” State Farm, 463 U.S. at 42. In this case, DHS

did not even terminate the Agreement. See Ex. 2 § XV. Instead, it simply violated the Agreement

without providing any “reasoned analysis for” doing so. Id. Nor did DHS explain why it was

abandoning its previous policy of “enforcing the immigration laws of the United States to prohibit

the entry into, and promote the return or removal from, the United States of inadmissible and

removable aliens.” Ex. 2 § III.A.1.a.

        To be sure, after litigation began, DHS purported to terminate the Agreement (albeit

without following the Agreement’s termination provision), see Ex. 16 (2.2.2021 DHS letter to

Texas), but that simply highlights the problem. DHS is supposed to consider factors like the

Agreement before making decisions. Any new defenses of the January 20 Memorandum based on

DHS’s later attempt to terminate the Agreement are “impermissible post hoc rationalizations.”

Regents of the Univ. of Cal., 140 S. Ct. at 1909. Indeed, because the administrative record lacks

any evidence of any pre-Memorandum considerations, by definition any justification Defendants




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could give is necessarily a post hoc rationalization for a decision they have already illegally made.

Because the January 20 Memorandum is not sufficiently justified, DHS acted arbitrarily and

capriciously. Any new explanations that may be provided to this Court by DHS’s counsel are

irrelevant. “The grounds upon which an administrative order must be judged are those upon which

the record discloses that its action was based.” SEC v. Chenery Corp., 318 U.S. 80, 87 (1943). As

the record provides no such grounds, the Memorandum is arbitrary and capricious as a matter of

law.

        C.       The January 20 Memorandum was required to go through notice-and-comment
                 rulemaking.

        The January 20 Memorandum is a substantive or legislative rule 2 that required notice-and-

comment rulemaking under the APA. See 5 U.S.C. § 553. Neither of the two narrow exceptions in

Section 553 apply, so the notice-and-comment procedures must be adhered to “scrupulously.”

Prof’ls & Patients for Customized Care, 56 F.3d 592 at 595.

        As opposed to general statements of policy, substantive rules are those that (1) impose

rights and obligations; and (2) do not leave the agency and its decisionmakers free to exercise

discretion. Texas, 809 F.3d at 171. As Judge Hanen held in ruling that DACA was a substantive

rule that required notice-and-comment rulemaking: “These factors are not treated like different

elements of a cause of action, both of which must be proved; but instead a ‘matter of judgment is

involved in distinguishing between rules however discretionary in form, that effectively




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  5 U.S.C. § 551(4) (“‘[R]ule’ means the whole or a part of an agency statement of general or particular
applicability and future effect designed to implement, interpret, or prescribe law or policy or describing the
organization, procedure, or practice requirements of an agency and includes the approval or prescription
for the future of rates, wages, corporate or financial structures or reorganizations thereof, prices, facilities,
appliances, services or allowances therefor or of valuations, costs, or accounting, or practices bearing on
any of the foregoing[.]”).


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circumscribe administrative choice.’” Texas, 328 F. Supp. 3d at 731 (citing Am. Bus Ass’n v.

United States, 627 F.2d 525, 530 (D.C. Cir. 1980)).

          On its face, the January 20 Memorandum would immediately “circumscribe administrative

choice” by halting all but a tiny fraction of removals. No discretion would be left to the individual

immigration officers, as an alien could be removed only by approval from the acting director of

ICE. And in ruling that the January 20 Memorandum is a final agency action, this Court has already

determined that “rights or obligations have been determined.” ECF 16 at 8; see also RAICES Em.

Mot. to Intervene Ex. 2 ¶ 15, ECF 28-2 (“The memo’s temporary relief from the possibility or

being removed thus provides a significant benefit for our clients with final orders . . . .”). As such,

the APA affords Texas and the rest of the country the bare minimum of the notice-and-comment

rulemaking procedure before DHS can affect such a sweeping change to the Nation’s immigration

policy.

III.      Abdicating responsibility for removing illegal aliens is unconstitutional.

          The President and those who work for him in the Executive Branch are obligated to “take

Care that the Laws be faithfully executed.” U.S. Const. art. II, § 3. The January 20 Memorandum

violates that constitutional obligation.

          First, the January 20 Memorandum contradicts 8 U.S.C. § 1231. Systematically violating

a statute across millions of cases is the opposite of ensuring that such statute is faithfully executed.

Of course, the Court can address Defendants’ violation of Section 1231 under the APA, as

discussed above. And a violation of the Constitution is also a violation of the APA—indeed, the

Take Care Clause provides an independent basis that the Memorandum is contrary to law. See 5

U.S.C. § 706. But if the Court were to conclude that the APA did not provide a proper cause of

action in this case, Texas’s constitutional claim would present the same merits question on its own.




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       Federal courts have long exercised the power to enjoin federal officers from violating the

Constitution. See Armstrong, 575 U.S. at 327–28 (discussing “a long history of judicial review of

illegal executive action, tracing back to England”). Texas has a cause of action “at equity.” Green

Valley Special Util. Dist. v. City of Schertz, 969 F.3d 460, 475 (5th Cir. 2020) (en banc). “Equity

thus provides the basis for relief—the cause of action, so to speak”—when a plaintiff seeks

prospective relief for a constitutional violation committed by a federal official. Simmat v. U.S.

Bureau of Prisons, 413 F.3d 1225, 1232 (10th Cir. 2005) (McConnell, J.). As a result, even if the

Court disagreed with Texas’s arguments above, see supra Part I.A–B, it would not affect Texas’s

right to relief on its constitutional claim. See Dart v. United States, 848 F.2d 217, 224 (D.C. Cir.

1988) (explaining that the APA’s reviewability limitation in Section 701 “serves only to take away

what the APA has otherwise given—namely, the APA’s own guarantee of judicial review”—, “not

repeal the review of ultra vires actions that was recognized long before” the APA); Simmat, 413

F.3d at 1233 n.9 (allowing the plaintiff’s constitutional claim to proceed even though he

“appear[ed] to concede that his claim does not satisfy the APA’s requirement of ‘final agency

action’”).

       Second, the January 20 Memorandum does not provide for individualized consideration

typical of prosecutorial discretion. Indeed, it provides precisely the opposite: rather than an

exercise of prosecutorial discretion, where an executive actor acknowledges the obligation to

enforce a law generally but elects not to do so in a specific case, the Memorandum abdicates the

responsibility to enforce federal immigration laws and authorizes specific officials to make

individualized determinations to enforce those laws against specific illegal aliens. The

Memorandum does not prevent the initiation of removal proceedings—instead, it creates sweeping

categorical rules preventing implementation of final orders of removal. See United States v.




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Juarez-Escobar, 25 F. Supp. 3d 774, 787 (W.D. Pa. 2014) (holding that “Executive Action goes

beyond prosecutorial discretion because . . . it provides for a systematic and rigid process by which

a broad group of individuals will be treated differently than others based upon arbitrary

classifications, rather than case-by-case examination”). No executive has the discretion to

categorically refuse to enforce a duly enacted law; the Constitution does not provide the President

or his subordinates with that discretion. See U.S. Const. art. II, § 3.

        Third, DHS cannot justify stopping removals as an example of prosecutorial discretion

based on a new set of priorities. True, the January 20 Memorandum elsewhere directs DHS

employees to allocate resources to three enumerated priorities that will go into effect on February

1, 2021. Ex. 1 at 2-3. But it clarifies that “nothing in this memorandum prohibits the apprehension

or detention of individuals unlawfully in the United States who are not identified as priorities

herein.” Id. at 3. When it addresses the removal of illegal aliens, by contrast, the January 20

Memorandum creates categorical prohibitions. Rather than discuss the relative importance of

different enforcement priorities, it simply stops removals. And rather than tie that decision to new

enforcement priorities, the Memorandum orders the ceasing of removals before DHS’s new

priorities even take effect.

IV.     Defendant DHS violated the Agreement.

        The Agreement requires DHS to notify and consult with Texas before “pausing or

decreasing the number of returns or removals of removable or inadmissible aliens from the

country.” Ex. 2 § III.A.2.c. But DHS did not notify or consult with Texas before “directing an

immediate pause on removals” in the January 20 Memorandum. Ex. 1 at 3. As a result, the January

20 Memorandum is invalid, and Texas is entitled to injunctive relief. See Ex. 2 § VI.

        The January 20 Memorandum provides no explanation for its failure to follow the

Agreement, nor any acknowledgement of it. (As discussed above, that is an independent problem


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under the APA. See supra Part II.B.) DHS’s flagrant disregard of the Agreement in the January 20

Memorandum is inconsistent with its earlier acknowledgement that the Agreement is “a binding

and enforceable commitment between DHS and Texas.” Ex. 2 § II. 3

V.      The APA requires a final judgment setting aside the January 20 Memorandum.

        Based on the clear unlawfulness of the January 20 Memorandum, this case is ready for a

final judgment. The Court may do so after notice and an opportunity to respond. See Fed. R. Civ.

P. 56(f). And the Court may do so based on solely the record developed in its consideration of

Texas’s motion for a preliminary injunction. Id. 65(a)(2) (district courts may consolidate a

preliminary injunction hearing with a trial on the merits); 11A Wright & Miller, Fed. Prac. & Proc.

Civ. § 2950 (3d ed.); see, e.g., Texas v. United States, 340 F. Supp. 3d 579, 592 (N.D. Tex. 2018)

(O’Connor, J.), aff’d in part, vacated in part, remanded, 945 F.3d 355 (5th Cir. 2019), cert.

granted sub nom Texas v. California, No. 19-1019 (argued Nov. 10, 2020); N.D. Family All. v.

Bader, 361 F. Supp. 2d 1021, 1030 (D.N.D. 2005) (converting a preliminary-injunction into a

summary-judgment motion); PDK Labs Inc. v. Ashcroft, 338 F. Supp. 2d 1, 6 (D.D.C. 2004)

(granting summary judgment based on a preliminary-injunction motion).

        In their most recent filing with the Court, Defendants twice say that “Texas’s claims

represent pure legal issues.” ECF 30 at 6; see also id. (“[T]hey present purely legal issues.”).

Defendants have produced a six-page administrative record with absolutely no documents

indicating any consideration whatsoever of the costs of the Memorandum or other, narrower

policies prior to the Memorandum’s issuance. No additional discovery is needed. There are no


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  This defect also renders the January 20 Memorandum “arbitrary, capricious, an abuse of discretion, or
otherwise not in accordance with law” and “without observance of procedure required by law.” 5 U.S.C.
§ 706(2)(A), (D). For this reason, the APA requires the Court to “hold unlawful and set aside” the January
20 Memorandum. Id. § 706(2). The Court should also enjoin the individual defendants from enforcing the
January 20 Memorandum because such enforcement would be ultra vires and beyond the authority the
agency defendants could delegate.


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genuine disputes as to any material facts because the administrative record provides no basis for

upholding the Memorandum. This case is ripe for final resolution on the merits.

       The remedy for Defendants’ unlawful action is clear—it must be set aside. Under Section

706 of the APA, 5 U.S.C. § 706, when a reviewing court finds that an agency rule violates

the APA, it “‘shall’—not may—‘hold unlawful and set aside’ the agency action.” Sw. Elec. Power

Co. v. EPA, 920 F.3d 999, 1022 (5th Cir. 2019) (citing Checkosky v. SEC, 23 F.3d 452, 491 (D.C.

Cir. 1994)). When a court “hold[s] unlawful and set[s] aside” agency rules that are “arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A),

“the ordinary result is that the rules are vacated.” Nat’l Mining Ass’n v. U.S. Army Corps of Eng’rs,

145 F.3d 1399, 1409 (D.C. Cir. 1998) (citation omitted).

       Section 706 is not limited to appellate courts; district courts have a duty to vacate unlawful

agency actions as well. See Nio v. U.S. Dep’t of Homeland Sec., 385 F. Supp. 3d 44, 68–69 (D.D.C.

2019) (vacating arbitrary and capricious Department of Defense requirements rather than issuing

a permanent injunction, and stating that “[g]enerally, when a court finds that a challenged action

is arbitrary and capricious, the remedy is vacatur”); Am. Stewards of Liberty v. Dep't of Interior,

370 F. Supp. 3d 711, 728 (W.D. Tex. 2019) (vacating a Department of the Interior conclusion that

did not follow Congress’s set standard, and noting that “courts retain a role, and an important one,

in ensuring that agencies have engaged in reasoned decisionmaking”) (quoting Judulang v.

Holder, 565 U.S. 42, 53 (2011)); AquAlliance v. U.S. Bureau of Reclamation, 312 F. Supp. 3d 878,

880 (E.D. Cal. 2018) (vacating an agency report that violated the National Environmental Policy

Act and stating that vacatur is the “presumptive remedy” for unlawful agency action).

       And Defendants must be permanently enjoined nationwide from implementing or

enforcing this unlawful Memorandum. As this Court has already stated, the “January 20

Memorandum’s 100-day pause plainly affects national immigration policy, which demands


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‘uniformity.’” ECF 16 at 16; see also Texas, 328 F. Supp. 3d at 682 (holding that the “requirement

that immigration policy be uniform” must inform the remedial analysis). Setting aside the January

20 Memorandum is consistent with “strong federal interest in the uniformity of federal

immigration law.” Batalla Vidal v. Nielsen, 279 F. Supp. 3d 401, 438 (E.D.N.Y. 2018) (citing U.S.

Const. art. I, § 8, cl. 4). And because the January 20 Memorandum “impacts numerous statutes

and agency regulations concerning removals and detention periods, its partial implementation

would inevitably detract from Congress’s “integrated scheme of regulation.” ECF 16 at 16

(quoting Texas, 809 F.3d at 188). Finally, “a geographically limited injunction of the January 20

Memorandum’s 100-day pause on removals would not effectively protect Texas’s interests

because of the free flow of movement among the states.” Id.; see also Texas, 809 F.3d at 188; Ex.

17 (Gone to Texas); Ex. 18 (Texas Foreign Born Immigration).

VI.    Texas will suffer irreparable harm if an injunction is not granted.

       “To show irreparable injury if threatened action is not enjoined, it is not necessary to

demonstrate that harm is inevitable and irreparable.” Humana, Inc. v. Avram A. Jacobson, M.D.,

P.A., 804 F.2d 1390, 1394 (5th Cir. 1986). Instead, “[t]he plaintiff need show only a significant

threat of injury from the impending action, that the injury is imminent, and that money damages

would not fully repair the harm.” Id. (footnote omitted).

       Texas makes that showing in two ways. First, DHS admitted that Texas policies like the

January 20 Memorandum irreparably injure Texas. Second, Texas submits declarations

quantifying some of the unrecoverable financial costs of providing federally mandated welfare

benefits the tens of thousands of unlawfully present aliens who would otherwise be removed

during the 100-day “pause.” By increasing those costs, the January 20 Memorandum will

irreparably harm Texas.




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       A.      DHS admits Texas faces irreparable injury.

       DHS has already acknowledged that policies like the January 20 Memorandum cause

Texas significant harm. “Texas, like other States, is directly and concretely affected by changes to

DHS rules and policies that have the effect of easing, relaxing, or limiting immigration

enforcement. Such changes can impact Texas’s law enforcement, housing, education,

employment, commerce, and healthcare needs and budgets.” Ex. 2 § II.

       Indeed, DHS has specifically admitted that “a decrease or pause on returns or removals of

removable or inadmissible aliens” would “result in concrete injuries to Texas.” Ex. 2 § II, II(3).

       Texas faces particular harm because the rushed implementation of the January 20

Memorandum deprived Texas of the option of adjusting its policies in light of the federal shift. As

DHS itself has acknowledged, “[t]he harm to Texas is particularly acute where its budget has been

set months or years in advance and it has no time to adjust its budget to respond to DHS policy

changes.” Ex. 2 § II.

       B.      Texas Is Forced to Spend Money on Various Services for Illegal Aliens.

       “Texas has presented evidence it would suffer injuries for various reasons if an injunction

is not entered.” ECF 16 at 12. Texas spends hundreds of millions of dollars per year providing

services to illegal aliens, including social services, education, healthcare, and other services

broadly available in Texas. By increasing the number of illegal aliens present in Texas, the January

20 Memorandum will necessarily increase these costs. Likewise, the categorical refusal to remove

aliens ordered removable will encourage additional illegal immigration into Texas, which will

further exacerbate these costs. The United States Supreme Court has already concluded that the

predictable acts of illegal aliens in response to governmental enforcement efforts can injure a State.

Dept. of Commerce v. New York, 139 S. Ct. 2551, 2565–66 (2019). Just so here. And these

increased financial expenditures will irreparably harm the State because it cannot recover those


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costs from the federal government. See Texas v. United States, 328 F. Supp. 3d 662, 737 (S.D.

Tex. 2018) (explaining that the State’s financial injury was irreparable because “there is no source

of recompense”).

       In one year alone, Texas housed 8,951 undocumented criminal aliens for a total of

2,439,110 days. Ex. 10 ¶ 6. Texas’s estimated cost to do so was $152,054,117, of which only

$14,657,739 was reimbursed by the federal government. Id. ¶¶ 6 & 7. Those amounts will increase

should DHS halt nearly all of the removals from Texas.

       Additionally, the State funds three healthcare programs that cover illegal aliens. First,

federal law requires Texas to include illegal aliens in its Emergency Medicaid program. See 42

C.F.R. § 440.225(c). That costs the State tens of millions of dollars annually. See Ex. 13 ¶ 9

(estimating costs between $62 million and $90 million for various years). Second, the Family

Violence Program spends more than a million dollars per year providing services to illegal aliens.

Id. ¶ 10 (estimating costs between $1 million and $1.4 million for various years). Third, Texas’s

Children’s Health Insurance Program spends tens of millions of dollars each year on perinatal

coverage for illegal aliens. Id. ¶ 11 (estimating costs between $30 million and $38 million for

various years).

       In addition to the cost of these social services, Texas faces the costs of uncompensated care

provided by state public hospital districts to illegal aliens. Between 2006 and 2008, these costs

ranged from $597 million to $717 million. Id. ¶ 11. In light of the increasing cost of medical care,

these numbers are likely higher now.

       The Chief Data and Analytics Officer at Texas’s Health and Human Services Commission

“believe[s] that the total costs to the State of providing such services and benefits to undocumented




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immigrants will continue to reflect trends to the extent that the number of undocumented

immigrants residing in Texas increases or decreases each year.” Id. ¶ 13.

       The State also provides public education to illegal aliens, as the Supreme Court required in

Plyler v. Doe, 457 U.S. 202, 230 (1982). The cost of educating unaccompanied alien children,

which is only a subset of illegal aliens eligible for public education, is tens of millions of dollars

per year. See Ex. 12 ¶ 4 (estimating costs between $31 million and $63 million for various years).

       The Chief School Finance Officer at the Texas Education Agency “anticipate[s] that the

total costs to the State of providing public education to [unaccompanied alien children] will rise in

the future to the extent that the number of [unaccompanied alien children] enrolled in the State’s

public school system increases.” Ex. 12 ¶ 8.

       C.      This Court has previously found this evidence sufficient to show irreparable injury.

       In granting Texas’s application for a temporary restraining order, this Court ruled “the

foregoing establishes a substantial risk of imminent and irreparable harm to Texas.” ECF 16 at 12. It

was not the first time a court in this district found such evidence support Texas’s injuries in the

immigration context. In Texas, 328 F. Supp. 3d 662, the court considered similar declarations in

the context of Texas’s challenge to DACA. The court held that the evidence not only established

standing but also “would otherwise be sufficient proof of irreparable damage” for purposes of a

preliminary injunction. Id. at 740. The Court refused to find irreparable injury only because the

State had “delay[ed] in pursuing the claims” challenging DACA. Id.

       In this case, Texas has the same evidence of irreparable injury and has not delayed at all.

The State filed suit—and sought emergency relief—two days after DHS issued the challenged

Memorandum. The harm the State faces is therefore irreparable.




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VII.   An injunction would not harm defendants or the public.

       As this Court has already recognized, “the threat of injury to Texas outweighs any potential

harm to Defendants.” ECF 16 at 14. In fact, Defendants face no harm from a preliminary

injunction. They have no legitimate interest in the implementation of an unlawful memorandum.

See N.Y. Progress & Prot. PAC v. Walsh, 733 F.3d 483, 488 (2d Cir. 2013) (recognizing that

government officials “do[] not have an interest in the enforcement of an unconstitutional law”).

But even if Defendants had a legitimate interest in the January 20 Memorandum, they face no

substantial prejudice from a delayed implementation. DHS has already recognized that any costs

from delaying new policies is outweighed by the benefits of consultation and more reasoned

decision making. See Ex. 2 § II.

       Further, the public interest strongly favors Plaintiff. In this case, “the public interest is

served and protected by the issuance of” relief. ECF 16 at 14. “There is always a public interest in

prompt execution of removal orders.” Nken v. Holder, 556 U.S. 418, 436 (2009). Defendants

cannot claim that the public interest now favors refusing to enforce so many final orders of

removal, “the consequence [of which] is to permit and prolong a continuing violation of United

States law.” Reno v. Am.-Arab Anti-Discrimination Comm., 525 U.S. 471, 490 (1999).

VIII. The Court should postpone the January 20 Memorandum’s Effective Date.

       In the event this Court is not prepared to set aside the January 20 Memorandum and

permanently enjoin its implementation or enforcement, the APA empowers a “reviewing court” to

“issue all necessary and appropriate process to postpone the effective date of an agency action or

to preserve status or rights pending conclusion of the review proceedings.” 5 U.S.C. § 705. A stay

of the effective date should issue “to the extent necessary to prevent irreparable injury” and “[o]n

such conditions as may be required.” Id.; see also Texas v. EPA, 829 F.3d 405, 435 (5th Cir. 2016)

(staying an EPA action pending review).


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         When considering “whether to stay an agency action pending judicial review,” district

courts apply the same test used for preliminary injunctions. Texas v. United States, 95 F. Supp. 3d

965, 973 (N.D. Tex. 2015); see also IHG Healthcare, Inc. v. Sebelius, 4:09-cv-3233, 2010 WL

11680368, at *1 (S.D. Tex. Apr. 1, 2010); Safety Nat’l Cas. Corp. v. U.S. Dep’t of Homeland Sec.,

4:05-cv-2159, 2005 WL 8168878, at *2 (S.D. Tex. Dec. 9, 2005). Thus, for the reasons explained

above, Texas has made the showing necessary for a stay.

                                          CONCLUSION

         The State of Texas respectfully requests that the Court preliminarily enjoin Defendants

from implementing the January 20 Memorandum and hold the Memorandum unlawful and set it

aside.




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Respectfully submitted this the 5th day of February, 2021,

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                                CERTIFICATE OF WORD COUNT

       I hereby certify that the total number of words in Plaintiff’s Motion for Preliminary

Injunction, exclusive of those sections designated for omission, is 8,532 words, as registered by

Microsoft Word. I further certify that the Motion for Preliminary Injunction, exclusive of those

sections designated for omission for word limit purposes, is 27 pages and does not exceed 40

pages pursuant to the Scheduling Order dated January 30, 2021. ECF 44.

                                                  /s/ Todd Lawrence Disher
                                                  TODD LAWRENCE DISHER


                                   CERTIFICATE OF SERVICE

       I certify that on February 5, 2021, a true and accurate copy of the foregoing document was

filed electronically (via CM/ECF) and served on all counsel of record.

                                                  /s/ Todd Lawrence Disher
                                                  TODD LAWRENCE DISHER


                                 CERTIFICATE OF CONFERENCE

       I certify that, on February 4–5, 2021, I conferred with Defendants’ counsel, who

represented that Defendants oppose this motion.

                                                  /s/ Todd Lawrence Disher
                                                  TODD LAWRENCE DISHER




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